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AO 245B (Rev. )   Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                       Middle District
                                     __________        of Pennsylvania
                                                 District of __________
                                                       )
              UNITED STATES OF AMERICA                 )     JUDGMENT IN A CRIMINAL CASE
                           v.                          )
                                                       )
                  LOUIS F. PETROSSI                          Case Number: 1:17-CR-0192-01
                                                       )
                                                       )     USM Number: 53259-048
                                                       )
                                                       )      Jonathan W. Crisp, Esquire
                                                       )     Defendant’s Attorney
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G
✔ was found guilty on count(s)            1, 2 & 3 of the Indictment
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 15:78j(b) & 78ff and               Securities Fraud                                                         1/31/2017                    1

     18:3147(1)

                                                     (See Page 2 for additional offenses)

       The defendant is sentenced as provided in pages 2 through                 8        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                                 G is     G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          10/29/2018
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                          CHRISTOPHER C. CONNER, CHIEF JUDGE
                                                                          Name and Title of Judge


                                                                          11/1/2018
                                                                          Date
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AO 245B (Rev.    Judgment in a Criminal Case
                       Sheet 1A
                                                                          Judgment—Page   2       of   8
DEFENDANT: LOUIS F. PETROSSI
CASE NUMBER: 1:17-CR-0192-01

                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                    Offense Ended           Count
15:80b-6 & 80b-17 and             Investment Advisor Fraud             1/31/2017              2
   18:3147(1)
18:1343 & 3147(1)                 Wire Fraud                           8/23/2016              3
                         Case 1:17-cr-00192-CCC Document 111 Filed 11/02/18 Page 3 of 8
AO 245B (Rev. ) Judgment in Criminal Case
                      Sheet 2 — Imprisonment

                                                                                                             Judgment — Page       3       of        8
 DEFENDANT: LOUIS F. PETROSSI
 CASE NUMBER: 1:17-CR-0192-01

                                                               IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  One Hundred (100) Months & Three (3) Days. This term represents terms of 100 months on each of Counts 1 and 3, and 60 months on Count 2, to be
  served concurrently with one another, and with the sentence imposed in U.S.D.C. Eastern District of New York Docket No. 1:16-CR-0234-009. Additionally,
  in accordance with 18 U.S.C. § 3147, a sentence of one (1) day imprisonment is imposed on each count, which shall run consecutively to one another, and
  to all other terms of imprisonment, to include Counts 1, 2, and 3, and the sentence imposed in U.S.D.C. Eastern District of New York Docket
  No. 1:16-CR-234-009.

      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
  The court recommends that the Bureau of Prisons' determination regarding the place of confinement be made consistent with its determination relative to
  defendant's term of imprisonment in the U.S.D.C. Eastern District of New York Docket No. 1:16-CR-0234-09. The court further directs that defendant may
  voluntarily surrender for service of his sentence on the date directed in the same U.S.D.C. Eastern District of New York matter. (*See below)



      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
            G at                                    G a.m.        G p.m.         on                                                    .

            G as notified by the United States Marshal.
      ✔ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      G
            ✔ before 2 p.m. on
            G                           11/5/2018                            .        "TEJSFDUFEJO64%$&%/:$BTF OPUFEBCPWF
            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                            to

 aW                                                   , with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                              By
                                                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev.    Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     4    of        8
DEFENDANT: LOUIS F. PETROSSI
CASE NUMBER: 1:17-CR-0192-01
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Three (3) Years. This term consists of terms of three years on each of Counts 1 through 3, to be served concurrently with
 one another, and with the supervised release term imposed in the USDC EDNY Docket No. 1:16-CR-0234-009. (See Page
 6 for additional conditions of supervised release.)




                                                     MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G
            ✔ The above drug testing condition is suspended, based on the court's determination that you
                SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH FKHFNLIDSSOLFDEOH
    G <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
           UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
.    ✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
      G
.    G You must comply with the requirements of the Sex Offender Registration and Notification Act 86&HWVHT as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKHORFDWLRQwhHUH you
           reside, work,are a student, or were convicted of a qualifying offense. (check if applicable)
.    G    You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                               Judgment—Page         5       of         8
DEFENDANT: LOUIS F. PETROSSI
CASE NUMBER: 1:17-CR-0192-01

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
    You must answer truthfully the questions asked by your probation officer.
    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours ofbecoming
      aware of a change or expected change.
    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer mayrequire
      you to notify the person about the risk and you must comply with that instruction. The probation officer may contact theperson and
      confirm that you have notified the person about the risk.
   You must follow the instructions of the probation officer related to the conditions of supervision.
   <RXPXVWQRWLI\WKHFRXUWRIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\UHVWLWXWLRQ
      ILQHVRUVSHFLDODVVHVVPHQWV

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3B — Supervised Release
                                                                                            Judgment—Page    6     of       8
DEFENDANT: LOUIS F. PETROSSI
CASE NUMBER: 1:17-CR-0192-01

                                    ADDITIONAL SUPERVISED RELEASE TERMS
1. You must apply all monies received from income tax refunds, lottery winnings, judgments, and/or other anticipated or
unexpected financial gains to the outstanding court-ordered financial obligation.

2. You must provide the probation officer with access to any requested financial information and authorize the release of
any financial information. The probation officer may share financial information with the U.S. Attorney's Office.

3.    You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.

4. You must pay the restitution ordered in accordance with the Schedule of Payments sheet of this judgment. You must
also notify the court of any changes in economic circumstances that might affect the ability to pay this financial penalty.

5. You must not engage in an occupation, business, profession, or volunteer activity as a stock promoter, financial
advisor or in the financial field without the prior approval of the probation officer.

6. You shall cooperate in the collection of a DNA sample as directed by the probation officer, unless a sample was
collected during imprisonment.
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AO 245B (Rev. )   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page      7     of        8
 DEFENDANT: LOUIS F. PETROSSI
 CASE NUMBER: 1:17-CR-0192-01
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                  JVTA Assessment*                 Fine                      Restitution
 TOTALS            $ 300.00                     $ 0.00                             $ 0.00                    $ 2,265,735.84


 G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 ✔ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 G
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                      Total Loss**               Restitution Ordered           Priority or Percentage
  See Victims Listed in "Attachment A" Hereto                                                         $2,265,735.84        Pro Rata




 TOTALS                               $                         0.00           $              2,265,735.84


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ✔
 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ✔ the interest requirement is waived for the
       G                                                       G fine      ✔ restitution.
                                                                           G
       G the interest requirement for the          G fine       G      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                        Case 1:17-cr-00192-CCC Document 111 Filed 11/02/18 Page 8 of 8
$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH
                       Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page      8      of           8
DEFENDANT: LOUIS F. PETROSSI
CASE NUMBER: 1:17-CR-0192-01

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     G
      ✔ Lump sum payment of $             300.00                due immediately, balance due

           G      not later than                                    , or
           G
           ✔      in accordance with     G    C,    G    D,    G     E, or      G
                                                                                ✔ F below; or

B     G Payment to begin immediately (may be combined with                   G C,         G D, or      G F below); or
C     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     G
      ✔ Special instructions regarding the payment of criminal monetary penalties:

            The special assessment consists of $100 on each of Counts 1, 2 and 3. During the term of imprisonment, the
            restitution is payable every three months in an amount, after a telephone allowance, equal to 50 percent of the
            funds deposited into the defendant's inmate trust fund account. In the event the restitution is not paid in full prior to
            the commencement of supervised release, the defendant shall, as a condition of supervised release, satisfy the
            amount due in monthly installments of no less than $1,000, to commence 30 days after release from confinement.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
       All property identified and approved by the Court in the Preliminary Order of Forfeiture (Doc. 83), dated May 29, 2018,
       and any subsequent Final Order(s) of Forfeiture issued by the Court.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
